                      Case 1:19-mj-00043-GMH Document 1 Filed 02/25/19 Page 1 of 1
AO 91 (Rev. 08/09) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                           for the
                                                           DistrictDistrict
                                                      __________    of Columbia
                                                                            of __________

                  United States of America                                     )
                              v.                                               )
                       Jimmon Watson                                           )        Case No.
                                                                               )
                                                                               )
                                                                               )
                           Defendant(s)


                                                           CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the dates(s) of between on or about 08/01/16 through 05/17/18in the county of                                                                 in the
                       District of               Columbia                 , the defendant(s) violated:
                   Code Sections                                                     Offense Description
              18 U.S.C. § 2251(a)         knowingly employed, used, persuaded, induced, enticed, or coerced minor D.F., to engage in sexually explicit
                                          conduct for the purpose of producing any visual depiction of such conduct by any means and facility of interstate
                                          and foreign commerce.

          22 D.C. Code §§ 3008,           being more than four years older than D.F., a child under 16 years of age, that is, 14 years of age, engaged in a
                     3020(a)(2)           sexual act with D.F. and caused D.F. to engage in a sexual act, that is, contact between Jimmon Watson's mouth
                                          and D.F.'s penis. The United States further charges that at the time Jimmon Watson committed this offense, D.F.
                                          was under the age of eighteen, and the defendant had a significant relationship with D.F., that is, Jimmon Watson
                                          was an employee of a school and in a position of trust or authority over D.F.

             18 U.S.C. § 2251(a)          knowingly employed, used, persuaded, induced, enticed, or coerced minor J.L., to engage in sexually explicit
                                          conduct for the purpose of producing any visual depiction of such conduct by any means and facility of interstate
                                          and foreign commerce.

      18 U.S.C. § 2252(a)(4)(B)           did knowingly possess material that contained a visual depiction that had been transported using any means or
                                          facility of interstate commerce, and the producing of the visual depiction involved the use of a minor engaged in
                                          sexually explicit conduct and the visual depiction is of such conduct.

         This criminal complaint is based on these facts:
SEE ATTACHED STATEMENT OF FACTS


         ✔ Continued on the attached sheet.
         u



                                                                                                                   Complainant’s signature

                                                                                                              Peter Kaupp, Special Agent
                                                                                                                  Printed name and title

Sworn to before me and signed in my presence.


Date:             02/25/2019
                                                                                                                    Judge’s signature

City and state:                           Washington, DC                                         G. Michael Harvey, U.S. Magistrate Judge
                                                                                                                  Printed name and title
